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 4   Attorney for Defendant
     ROMMEL ANTOLIN
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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     Cr.S. 08-0318-LKK
                                     )
12                Plaintiff,         )
                                     )     ORDER AFTER HEARING
13    v.                             )
                                     )
14   ROMMEL ANTOLIN, et al., 08      )
                                     )
15                                   )
                  Defendant.         )
16                                   )
17
18         This matter came before the Court for a Status Conference on
19   October 5, 2010, in the courtroom of the Honorable Lawrence K. Karlton,
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     Senior United States District Judge.        The government was represented by
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     its counsel, Assistant United States Attorney, Russell Carlberg, and
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     defendants Elizabeth Carrion, represented by Carl Larson for attorney
23
     Bruce Locke who was not present, Angelito Evangelista, represented by
24
     Dwight Samuel, who was present,       Arthur Evangelista, represented by
25
     Scott Cameron who was present and Rommel Antolin, represented by Carl
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     Larson who was present.      All defendants have a waiver of presence on
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     file and were not present in court.        A Further Status Conference was
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 1   set for December 7, 2010, at 8:30 a.m. in Courtroom 4.
 2    Therefore, good cause appearing,
 3    IT IS ORDERED that this matter be continued to December 7, 2010, at
 4   8:30 a.m. for a Further Status Conference.
 5    IT IS FURTHER ORDERED that, pursuant to 18 U.S.C. §3161(h)(7)(B)
 6   (iv), the period from October 5, 2010, through and including December
 7   7, 2010, is excluded from the time computations required by the Speedy
 8   Trial Act due to ongoing preparation of counsel.
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     DATED: October 18, 2010
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